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    In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: May 12, 2021

* * * * * * * * * * * * *  *
ALISON BRACKEN,            *                               No. 18-224V
                           *                               Special Master Sanders
         Petitioner,       *
                           *                               UNPUBLISHED
v.                         *
                           *
SECRETARY OF HEALTH        *                               Attorneys’ Fees and Costs
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *

Ronald C. Homer, Conway, Homer, P.C., Boston, MA, for Petitioner;
Kyle E. Pozza, United States Dep’t of Justice, Washington, DC, for Respondent.

                 DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

        On February 14, 2018, Alison Bracken (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §300aa-10 et seq.
(2012). Petitioner alleged that the influenza vaccine she received on October 24, 2015, caused her
to develop Transverse Myelitis. Pet. at 1 (ECF No. 1). On September 23, 2020, the parties filed a
stipulation, which the undersigned adopted as her decision awarding compensation on September
28, 2020. (ECF No. 47).




1
  The undersigned intends to post this Ruling on the United States Court of Federal Claims' website. This
means the Ruling will be available to anyone with access to the Internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this case,
the undersigned is required to post it on the United States Court of Federal Claims' website in accordance
with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion
of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        On February 2, 2021, Petitioner filed a motion for attorneys’ fees and costs. (ECF No. 52)
(“Fees App.”). Petitioner requests total final attorneys’ fees and costs in the amount of $25,632.65,
representing $24,583.50 in attorneys’ fees and $1,049.15 in attorneys’ costs. Fees App. at 1-2.
Pursuant to General Order No. 9, Petitioner has indicated she has not personally incurred any costs
related to her petition. Id. Respondent responded to the motion on February 4, 2021, indicating
that “Respondent is satisfied the statutory requirements for an award of attorneys’ fees and costs
are met in this case.” Resp’t’s Resp. at 2. (ECF No. 54). Petitioner did not file a reply thereafter.

        This matter is now ripe for consideration.

   I.         Reasonable Attorneys’ Fees and Costs

         The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e). The
Federal Circuit has approved the lodestar approach to determine reasonable attorneys’ fees and
costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). This is a two-step process. Id. First, a court determines an “initial estimate . . . by
‘multiplying the number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347–48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second, the court may
make an upward or downward departure from the initial calculation of the fee award based on
specific findings. Id. at 1348.

    It is “well within the special master’s discretion” to determine the reasonableness of fees.
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys’ fees and
costs.”). Applications for attorneys’ fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008). Such applications, however,
should not include hours that are “‘excessive, redundant, or otherwise unnecessary.’” Saxton, 3
F.3d at 1521 (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum, 465 U.S. at 895. The “prevailing market rate” is akin to the rate
“in the community for similar services by lawyers of reasonably comparable skill, experience and
reputation.” Id. at 895, n.11. Petitioners bear the burden of providing adequate evidence to prove
that the requested hourly rate is reasonable. Id.

        a.       Hourly Rate

        The decision in McCulloch provides a framework for consideration of appropriate ranges
for attorneys’ fees based upon the experience of the practicing attorney. McCulloch v. Sec’y of
Health & Human Servs., No. 09-293V, 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1,
2015), motion for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The
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Court has since updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules for 2015–2016, 2017, 2018, 2019, 2020, and 2021 can be accessed online.3

            The undersigned has reviewed the hourly rates requested by Petitioner for the work of
    her counsel at Conway, Homer, P.C. (the billing records indicate that the majority of attorney
    work was performed by Ms. Lauren Faga, with supporting work from Mr. Ronald Homer, Ms.
    Christina Ciampolillo, Ms. Meredith Daniels, Mr. Nathaniel Enos, and Mr. Patrick Kelly). The
    rates requested are consistent with what counsel has previously been awarded for their Vaccine
    Program work, and the undersigned finds them to be reasonable herein for work performed in
    the instant case.

          b. Reasonable Number of Hours

         Attorneys’ fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521 (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)).

         Upon review, the undersigned finds the overall hours billed to be largely reasonable.
Counsel has provided sufficiently detailed descriptions for the tasks performed. However, a small
reduction must be made for excessive review of filings by counsel. While it is reasonable to have
a second set of attorney eyes review substantive filings, such as the petition or a settlement demand,
it is not reasonable to have another attorney review routine filings such as status reports or the joint
notice not to seek review given that Ms. Faga (lead counsel in this case) is an experienced Vaccine
Program practitioner. Accordingly, a reduction of $410.00 is being made to account of this issue.
Petitioner is therefore awarded final attorneys’ fees of $24,173.50.

          c. Attorney Costs

        Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $1,049.15 in attorneys’ costs, comprised of acquiring medical records, postage, the
Court’s filing fee, and costs associated with counsel meeting with Petitioner in person. The
undersigned has reviewed these costs and finds them to be reasonable and supported with adequate
documentation. Petitioner is therefore awarded the full amount of costs requested.

          II.    Conclusion

        In accordance with the Vaccine Act, 42 U.S.C. §15(e) (2012), the undersigned has
reviewed the billing records and costs in this case and finds that Petitioner’s request for fees and
costs, other than the reductions delineated above, is reasonable. Based on the above analysis, the
undersigned finds that it is reasonable to compensate Petitioner and her counsel as follows:

    Attorneys’ Fees Requested                                          $24,583.50

3
 The OSM Fee Schedules are available at: http://www.cofc.uscourts.gov/node/2914. The hourly rates
contained within the schedules are updated from the decision in McCulloch, 2015 WL 5634323.
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    (Reduction to Fees)                                                   - ($410.00)
    Total Attorneys’ Fees Awarded                                         $24,173.50

    Attorneys’ Costs Requested                                            $1,049.15
    (Reduction of Costs)                                                      -
    Total Attorneys’ Costs Awarded                                        $1,049.15

    Total Attorneys’ Fees and Costs                                       $25,222.65


       Accordingly, the undersigned awards a lump sum in the amount of $25,222.65,
representing reimbursement for Petitioner’s attorneys’ fees and costs, in the form of a check
payable to Petitioner and Petitioner’s counsel, Mr. Ronald Homer.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith.4

                IT IS SO ORDERED.

                                                         s/Herbrina D. Sanders
                                                         Herbrina D. Sanders
                                                         Special Master




4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
